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Debtor Namet \ij, itq ;n, ,. .;
f ,
\‘l t j ii'/ `i

United States Bankruptcy Cmm f5r the.

L:l Check if this is an
amended filing

Case number: i

 

 

Official Form 4250

twentth Operating Report for Smail Business Under Chapter "I’i _ 12117

';i.t;>it

  
   

 
 

 

 

 

   

 

 

 

iVlonth: t Date report filed:
Mlvl too rYVYY
;S' t it t -

Line of business'. t,l- i:..~€§ ' NA|SC code:

ln accordance with title 28, section 1746, of the United States Code, l declare under penalty of perjury

that t have examined the following small business monthly operating report and the accompanying

attachments and, to the best of my knowledge, these documents are true, correct, and complete.

' qi-"i /i/i/‘ t?="'*,in/;
Responsible party: it»" itt it j ii
Origlna| signature of responsible party
. . =;) g'/"ji "3 ) »"”T_r
Pnntec_l name of responsible party ¢,. a rt t,,,¢,
1 . Questionnaire
Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated
¥es No NIA
if you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibr't A. _
1. Did the business operate during the entire reporting period? j
2. Do you plan to continue to operate the business next month? `-:/! l;l i:i
3. Have you paid all of your bills on time? .i/ i:l n
4. Did you pay your employees on time? f Ei i;l
5. Have you deposited all the receipts for your business into debtor in possession (DIF’) accounts? `if m g
6. Have you timely filed your tax returns and paid all of your taxes? iga il Ei
l
7. Have you timely filed ali other required government tilings? E/{ n El
8. Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator? -ji m i;i
9. Have you timely paid all of your insurance premiums? n Ei
if you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhr'bit B.

'lf). Do you have any bank accounts open other than the DlP accounts? -f{ m Cl
11. Have you sold any assets other than inventory? Cl d i:.l
12. Have you sold ortransferred any assets or provided services to anyone related to the D|P in any vvay? E;l U/ n
13. Did any insurance company cancel your policy? i;l ;l/ [;i
14. Did you have any unusual or significant unanticipated expenses? El @'/ Cl
15. Have you borrowed money from anyone or has anyone made any payments on your behalf? a §§ [;l
16. Has anyone made an investment in your business? m Js_alo El

Ofticial Form 4250 w Nlonthly Operating Report for Sma|| Business Under Chapter 11 page 1

 

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\ji
DebtorName t v€:::jii jt

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17. Have you paid any bills you owed before you filed bankruptcy?

18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?

itpa
Case number

 

 

 

2. Summary of Cash Activity for All Accounts

19.

20.

Total opening balance of all accounts

This amount must equal what you reported as the cash on hand at the end of the month in the previous

 

month. if this is your first report, report the total cash on hand as of the date of the filing of this case.

Total cash receipts

Attach a listing of atl cash received for the month and label it Exhr'bit C. include all
cash received even if you have not deposited it at the bank, collections on
receivables, credit card depositsl cash received from other parties, or loans, gtfts, or

payments made by other parties on your beha|f. Do not attach bank statements in
lieu cf Exhr'br't C.

Report the total

from Exhibft C here.

21. Total cash disbursements

Attach a listing of a!| payments you made in the month and label it Exhit)ft D. i_ist the
date paid, payee, purpose, and amount. include all cash payments, debit card
transactions, checks issued even if they have not cleared the bank, outstanding
checks issued before the bankruptcy Was filed that Were aiiowed to clear this month,
and payments made by other parties on your behalf Do not attach bank statements

 

22.

23.

in lieu of Exhibit D.
Report the total from Exhi't)lt D here.

Net cash flow

Subtract !ine 21 from line 20 and report the resuit here.
This amount may be different from what you may have calculated as net profit

Cash on hand at the end of the month
Add line 22 + iine 19. Report the result here.

  

 

t 93
Report this figure as the cash on hand at the beginning of the month on your next operating report "" $ ___‘“mf `1' t iii

`l'his amount may not match your bank account balance because you may have outstanding checks that

have not cleared the bank or deposits in transit.

 

 

24.

 

Attach a list of all debts (inciuding taxes) Which you have incurred since the date you filed bankruptcy but
have not paid. Labe| it Exhibit E. include the date the debt was incurred, who is owed the money, the

purpose of the debt, and when the debt is due. Report the total from Exhibr't E here.

Total payab|es
(Exhr'bit E)

 

Offlcial Form 4250

lVlcnthly Operating Report for Smail Business Under Chapter 11` page 2

 

 

25.

 

26.
27.

 

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37.

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:. rvj" op 15

Case number 3 f,v§ §

 

 

Attach a list of ali amounts owed to you by your customers for work you have done or merchandise you
have sold. lnciude amounts owed to you both before, and after you filed bankruptcy E_abei it Exhibit F.

identify who owes you moneyl how much is owed, and when payment is due. Report the totai from
Exhibit F here.

Total receivables
(Exhibit F)

 

 

5. Empioyees

What was the number of employees when the case was filed?

 

What is the number of employees as of the date of this monthly report?

 

6. Professlonal Fees

i~iow much have you paid this month in professional fees related to this bankruptcy case?
How much have you paid in professional fees related to this bankruptcy case since the case was filed?

How much have you paid this month in other professional fees?

 

How much have you paid in total other professional fees since filing the case?

 

§ 7. Projections

Compare your actual cash receipts and disbursements to what you projected in the previous month.
Projected figures in the first month should match those provided at the initial debtor interview, if any.

 

 

  
 
 

    

   

 

 

 

 

 

 

 

 

 

 

Colurnn A Coiurnn B Column C
Projected -- Actuai = Dif‘ference
Ccpy lines 135-37 from Copy lines 20-22 of Subtract Colurnn B
the previous month's this report from Coiumn A.
re?.g;,rt' (:-f, 12 f i!“""' E'”E-"\ £’§/ t ge j\_t_ v
.é( .‘ n.
Cash receipts $ v , `!t?i*‘ii.,:’. u,i:i) "" 35 j ' iit/51 $i:¢.t_. §:§§ § § i§ 'i
c ;<§;v cit j,::;§ '

Cash disbursements $_---`--3- *“` "'

Net cash flow $ §-

Totai projected cash receipts for the next month:

Total projected cash disbursements for the next month:

Total projected net cash flow for the next month:

 

Offlciai Form 4250 l‘.lionthly Operating Report for Small Business Under Chapter 11 page 3

 

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'i.‘ lv;" ( l d f \ (2» §§ ` 5
-i‘ 1r ;:~,.

l . ")
if n . § Cesenumberj(:; \.-v ~f '

          

   

Debtor Name l_,-) ij

8. Additional information

 

if availeble, check the box to the left and attach copies of the following documents.

@//38. Banl< statements for each open account (reclact all but the last 4 digits of account numbere).
§§ 39. Benl< reconciliation reports for each account

E|»f:l[). Financia| reports euch as an income statement (profit & loee) and/or balance sheetl

E|,<t :;;l'l. Budget, projection, or forecast reports.

§§ 42. Project, job coe§ing, or Worl<~in-progrese repoitS.

Officiel Form 4250 lV'lonthly Operating Report for Sma|l Business Under Chapter 11 page 4

 

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Exhibit A
Queetion #8. Quarterly fees up to date

Page l

 

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Exhibit B

Question #10.

Currently using Chase business account.

Also there us still a US Bank account that has not been
closed as of yet.

Page l

 

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E><hibirc. D _,,:;,;tt;):a 1a 6 z'\¢:>l<;t; § §:,,);< t

Chase ACCt 000000237962961NOV 1 2018 thru NOV 30 2018

01- Nov Deposit $35,899.79
01- No\.r BCBS 18303E40340830 $544.26
Ol- Nov Aetna 1043243512 591.77
01- Nov BCBS 18303E4034084O $85.93
01- Nov Square 181101P2 $14.59
02- Nov Transfer from 8207 $2,000.00
02- Nov Square 181102P2 $280.45
02- Nov Ul\/lR 201868166 $160.12
02» Nov UHC 201868166 5102.88
05- No\,r Humana 363718 5119.77
05- l\lov BCBS 18305E40673130 $84.17
05- Nov Humana 363718 546.27
06- Nov Square 181106P2 $291.73
07- Nov Square 181107P2 5334.47
07- Nov UHC 201868166 $103.58
07- Nov Shabnam Clasim ACH 5101.90
07- Nov BCBS 18309§41002760 $91.34
08- Nov Square 181108P2 6169.84
08- Nov Aetna 1043243512 $128.30
13- Nov chitas 1396792602 $3921.17
13- Nov Square 181113P2 $227.56
14- Nov Novitas 1396792602 $537.00
14~ Nov Square 181114P2 $170.18
14- Nov Shabnam Qasim ACH $161.38
14~ Nov BCBS 18316E4183261O $125.06
15- Nov Deposit $281.52
15- Nov Pcc $309.52
16H Nov Transfer from 8207 $4,000.00
16- Nov Square 181116P2 5257.37
16- Nov Heart|and Nation 201868166 $14.65
20~ i\lov Square 181120P2 $229.07
20- Nov UHC 201868166 $54.44
21- Nov Shabnam Qasim ACl-l $604.90
21- Nov UHC 201868166 $64.37
23- Nov BCBS 18324E42849670 $354.65
23- l\lo\.r Square 181122P2 $126.42
23~ Nov BCBS 18324E42849680 $85.93
23- Nov UHC 201868166 $57.09
26- Nov Novitas 1396792602 $22.31
27- Nov Square 18112.7P2 $151.71
27- Nov Aetna 1043243512 5140.21
27- Nov Humana 363718 $86.01
27- Nov AARP 201868166 $36.29

28- Nov Card Purchase Return Dicl<ies $112.84
28- Nov Shabnam Ctasim Ach $446.09

 

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28- NOV Square 181128P2 $352.52
28~ NOV BCBS 18330E43185310 $191.79
28- NOV UHC 201868166 $14.37

29- NOV BCBS 18331E433737 $298.45
29- NOV Squat‘e 181129P2 $244.99
30~ Nov Deposit $966.73
30- Nov Square 18113OP2 $519.15

$55,816.63

 

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Exhibit D.
Electronic Withclrawa|s
Chase ACCt 000000237962961 Nov 1 2018 thru NOV 30 2018

02- Nov i\/leolical Protect 51814.00
02- No\.r lVledical Protect $1046.00
05- Nov ADP Payro|| Fee $93.73
05- Nov ADP Payroli Fee S53.25
05- Nov Payment Tech Fee $30.00
08- Nov Advanced lVlD $1006.67
09- Nov ADP Wage Pay $5292.51
09~ NOV ADP TBX $1248.05
19- Nov ADP Payro!| Fees $90.84
20- Nov ADP Wage Pay $15493.66
21- NOV ADP Tax $6649.54

$32,818.25

Page 9 ot 18

 

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Exhibit D.
ATlVl and Debit Card Withdrawa|s
Chase Acct 000000237962961 Nov 1 2018 thru NO\)' 30 2018

05~ Nov |Vlcl<esson |Vled Supply $305.86
07- i\lov l\/icl(esson l\/led Supply $447.90
14- Nov Amazon $17.47
19- Nov lntermedia $350.05
21- l\lov Dickeys BBQ $112.84
23- Nov Brookshires $49.99
26~ Nov Primepa ntry $4.99
27- Nov Vistaprint S44.45
30- No\.r Terra J\/ied Grill $100.00

$1433.55

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Exhibit D.
Checl<s Paid

Cha$e ACCt 000000237962961 NOV 1 2018 thru l\iOV 30 2018

09-Nov
13-N0v
13»Nov
13-Nov
13-Nov
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14~Nov
15-Nov
15-Nov
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30-Nov

Check#2482
Check#2472
Check#2480
Check#2483
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Checl<# 2479
Check#2481
Chedd#2485
Check#2486
Check#2478
Check#2487
Check#2489
Check#2495

$799.97
$1500.00
5120.34
$201.00
5155.62
$32.06
$900.00
5325.00
$115.76
$138.00
$172.63
$340.00
$900.00
$6300.43

 

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Total A/R - Summary

SHABNAM QASIM MD PA

Ett\t n t r

l s ,;s;z¢“

By Aging Date
All Patients
All Provider Prof`lies

 

Current

 

 

30 Days 60 Days 90 Days 120 Days Total Unapp|ied Net Total
sl-:ABNAM QASIM MD PA Totat:
Patient $811.64 $1,380.94 $3,118.37 $1,470.39 $844.00 $7,625.34 $7,625,34
10.64 % 18.11 % 40.89 % 19.28 % 11.07 % 100.00 % 100.00 %
Insurance $4,619.14 $15,997.37 $18,738.50 $26,604.14 $47,392.28 $113,351.43 $113,351.43
' 4.08 % 14.11 % 16,53 % 23.47 % 41.81 % tco.co % 100.00 %
Total $5,430.73 $17,378.31 $21,856.87 $28,074.53 $48,236.28 $120,976.77 $6,478,60 $114,498.17
4.49 % 1436 % 18.07 % 23.21 % 39.87 % 100.00 % 100.00 %
Grand Total:
Patient $811.64 $1,380.94 $3,118.37 $1,470.39 $844.00 $7,625.34 $7,625.34
10.64 % 18.11 % 40.89 % 19.28 % 11.07 % 100.00 % 100.00 %
Insurance $4,619.14 $15,997.37 $18,738.50 $26,604.14 $47,392.28 $113,351.43 $113,351.43
' 4.08 % 14.11 % ' 1653 % 23.47 % 7 41.81 % 100.00 % 100.00 %
Total $5,430.78 $17,378.31 $21,356.37 $23,074.53 $48,236.28 $120,976.77 $6,478.60 $114,498.17
4.49 % 14.36 % 18.07 % 23.21 % 39.87 % 100.00 % 100.00 %
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uN_lTE,D STATES BANKR\JPTGY COURT
NORTHERN oleTRlcT oF TEXAS
FORT wORTH DtvtsloN

'erEN'o' 1343088-MxM-11
_t;HAPTeR 11

Pagew&$ 0t;t:e82rl

in re: Dr. Shahnam Qasim MD P‘A

eusti~aese- income main i=_'chE'NsEs

We Care Glin'ic
FINANC|AL REV|EW OF T`HE DEBTCJR"S BUB|NE$B (NOTE; DNL’\’ tNCLUDE information directly related 10 the business operation.')_

PARrA » eaose'eueiuess income FoRPRevrous 12 MoN'rHs;
'i. Grt`;ae income for '12_Monthe.|-"'rlor to Filing:

P`A_RT a - _Es`nNiATED AVERAGE FuTuRE enoee MoNTHLY thoME:
2`.- `Grus$ Nlonthly lnoome:

PART"c » ESTJMATED AVE'RAGE Fu'ruRE MoN'rHLY E)<PENSES;

3. Ne~: Employeel=’ayroll (Other Th'an Debtor):
4. Pe§!roll Texes:
£‘>. Un employment Ta;-cee:
6. Wotker's Compensation:
7. enter ."raxes:
B. |r\vantory Pur¢ha$e_e (inci_udirig raw material§._):
9, F'ui‘chase of Fe‘ed!Ferti|lier`!Seedle`ray:
10 Re_nt (olher than debto\’s principal residence}:
11. Uliliii_e`$.
12. Offioe Expenses and Supplles:
43. R-=palrs and Malntenance:
14. V.zhlcle Expene.es:
15r Tlevel and Entertainmént:
16. Equipment Rental and Leaaes:
‘_i`{, l.!zgal/Accounttngf©ther Professional Fees:
18. insurance
19. Enployee Bene§ts. (e'.g.. pension medicai,:etc.):
20. F’ aymen`teto_ be M`ecle Directly by Debtor to Securecl Creditors for
P e-Petitioo Buainess Debts (Spe‘c'rfy)_:
On Dor,:k Capital, lm_::.
`21. Gther (Speciiy):
Ad\le[tlsing
22. T\)tal`tli'lonthly Expenses {Aclcl items 3 4 21)

F‘ART D - ESTJMATED AVERAGE NET MONTHLY {NC()ME:

23. AVERAGE NET MONTHLY !NCOME (SUbil'$Bi' item 22 ffo'n"a item 211

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CHA§E mg NovemberOt, 2018 through NovemberSO, 2018
JPlVlorgan Chase Bank, N.A.

P O BOX 182051 ACCOUnt NUmbel'.' 000000237962961
Columbus, OH 43218-2051

 

CUSTON|ER SERV!CE lNFORNIAT|ON

 

    

Web site: Chase.com
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00043516 DHE 201 142 assts NNNNNNNNNNN T 1 occooocoo st oooo Deaf and Hard ot l-learing: 1-800-242~7383
DBA SHABNAM K QAS|M MD PA Para Espanol: 1-888»622-4273
DBA SHABNAN| K QAS|M MD PA international Ca|iSI t-713-262-1679
4619 FthER OAKS BLVD
FORT WORTH TX 76114

§

335600109200000472000100000000

We no longer automaticat|y reissue Business Employee Deposit Cards and Associate Debit
Cards

We wanted to remind you that we no longer automatically reissue Business Employee Deposit Cards and Associate Debit
Cards when they expire _ _ l .

To request a new card for an employee or contractor, a signer needs to call the number on the back ot the card or visit a
branch

The signer will need to provide the following information for the employee or contractor who is getting the card:

- Legal name,
' Date ot birth, and
- Residentia| address

Ao'ditionally, all new Business Ernp!oyee Deposit Cards and Associate De`bitCards now have a term of two years

These changes are meant to help ensure that access to your Chas_e business deposit account is only availab!e to active,
authorized users.

lt you have questions, please call us anytime at the number listed on this statement

We updated our Deposit Account and Wire Transfer Agreements

'l'he following changes were made November tt, 2018'.

~ We published an updated version ot our Deposit Account Agreement. You can get the latest agreement at a
branch or by request when you call us. l-lere’s what you should know:

0

We no longer charge an Extended Overdratt Fee. (General Account Terrns, Seotion C, insufficient
Funds and Fteturned item tees)

We added an address for reporting a dispute if you believe we provided incomplete or inaccurate
information about your account to a consumer reporting agency. (New section in General Account
Terms, Section l, Disputing information reported to a consumer reporting agency)

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CHA§E §

November 01, 2018 through Novernber 30, 2018
AccountNumber: 000000237962931

We updated our Wire Transter Agreement, here’s what you should know:

o

You will still receive emai| notifications on the status of your wire transferl l-towever, we added that if
we're unable to send an emait due to system failures or outages, it’s your responsibility to monitor
your account for the status 01 your wire transfer

We clarified that you should expect your foreign exchange rate to be less favorable than rates quoted
online or in pubiications.

Please call us at the number at the top of this statement if you have any questionsl

 

 

CHECK|NG SUN|N|ARY Ohase Total Business Checking

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

leTANcEs ArvlouNT
Beginn|ng Belance $4,143.72
Deposits and Additions 52 55,816.63
Checks Paid 13 -6,300.43
ATi\/l & Debit Card Withdrawals 9 -1,433.55
Etectronic Withdrawals 1 1 -32,818.25
Ending Balence 85 $19,408.12
DEPOS|TS AND ADD|T|ONS
oATE DEscanTioN AMouN“r
1 1/01 Deposit $35,899.79
1 1101 Bcbs Texas Hcclaimpmt 018303E40340830 CCD |D: 5531495400 544.26
11!01 Aetna 1-109 Hcclaimpmt 1043243512 CCD tD: 1066033492 91.77
11/01 Bcbs Texas Hcclaimpmt C18303E40340840 CCD lD: 5531495400 85.93
11/01 Square inc 181101P2 L209395244210 CCD |D: 9424300002 14.59
11/02 Online Transfer From Chl< ...8207 `l'ransaction#: 7632044901 2,000.00
11/02 Square inc 181102P2 L209395484814 CCD iD: 9424300002 280.45
11/02 Umr Orange Count Hcclaimpmt 201868166 CCD lD: 1800227704 160.12
11/02 Unitedhealthcare l-lcc!aimpmt 201868166 CCD tD; 1111187726 102.88
11/'05 l-lumana ins CO Efpayment 363718 CCD lD: 1391263473 119.77
11/05 Bcbs Texas Hcclaimpmt 018305E40673130 CCD iD: 5531495400 84.17
11/05 Humana ins CO Efpayment 363718 CCD |D: 1391263473 46.27
11."06 Square lnc' 181106P2 L209396405890 CCD |D: 9424300002 291 .73
t1/O7 Square inc 181107|32 L209396591380 CCD |D: 9424300002 334.47
i1/07 Unitedhealthcare Hcclaimpmt 201868166 CCD |D: 1411289245 103.58
11/07 Shabnam Oasim NlD ACl-l items CCD lD: 1201868166 101 .90
tt/O7 Bcbs Texas Hcclaimpmt 018309E41002760 CCD |D: 5531495400 91 .34
11/08 Square inc 181108P2 l_209396844173 CCD |D: 9424300002 169.84
11/08 Aetna As01 Hcclaimpmt 1043243512 CCD |D: 1066033492 128.30
11/13 Novitas Hcclaimpmt 1396792602 CCD |D: 04412000i-l1 3,921.17
11/13 Square inc 181113P2 L209398092tSO CCD lD: 9424300002 227.56
11/i4 Novitas Hcclaimpmt 1396792602 CCD |D: 04412000i-lt 537.00
11/14 Square inc 181114P2 L209398265843 CCD |D: 9424300002 170.18
11/14 Shat)nam Qasim NlD AOl-l items CCD tD: 1201868166 161 ,38
11/14 Bcbs Texas Hcclaimpmt 018316E41832610 CCD lD: 5531495400 125.06
11/15 Deposit 281 .52
11/15 Pcc Pcc PPD |D: 451171182 309.25
11."16 On|ine Transfer Frorn Chl< ...8207 Transaction#: 7669907661 4,000.00
11/16 Square inc 181116P2 L209398854109 CCD |D: 9424300002 257.37
11/'16 Heart|and Natioh Hcclaimpmt 201868166 CCD |D: 1640431935 14.65

 

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sense 0

November 01, 2018 through November 30, 2018
Accountt\lumber: 000000237962961

 

 

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DATE DEscFitPTioN Aiviounr

11/20 Squarelnc 181120P2 L209399776131 CCD|D: 9424300002 229.07

11/20 Unitedhealthcare Hcclaimpmt 201868166 CCD lD: 1111187726 54.44

11/21 Shabnam Qasim l\/lD AOi-i items CCD iD: 1201_868166 604.90

11/21 Unitedhealthoare Hcclaimpmt 201868166 CCD |D: 1411289245 64.37

11/23 Bcbs Texas Hcclaimpmt 018324E42849670 CCD lD: 5531495400 354.65

11/23 Sguare inc 181122P2 L.209400342284 CCD lD: 9424300002 126.42 c
11/23 13ch Texas Hcclaimpmt 018324E42849680 .CGD lD:-5531495400 85.93 §
11/23 Unitedhealthcare Hcctalmpmt 20186816_6_} CCD-.tD;§t_t_t‘itB'?.?_EB "?‘ 57.09 §
11/26 Novitas i-icciaimpmt 1396792_602 -i-._'{-ff`CCD'fl_D`f_'0'44_120040'|-.»11_`5`§5 '¥ l 22.31 §
11/27 Squarelnc 181127P2 L209401126?84`_`:`O`_'(_I;'D`?lD`:`-9.4_24300_0_02= ‘- _ 151.71 §
11/27 Aetna |-i09 Hcclaimpmt 1043243512 CCD lD: 1066038492 - 140.21 §
11/27 i-iumana ins CO Hcclaimpmt 363718 CCD lD: 1391263473 86.01 §
11/27 Aarp Supplementa Hccfalmpmt 201868166 CCD lD: 13627895'/§1. ' __ ._ __ - _ 36.29 §
11/28 ` Card Purchase_ Fteturn - .11/26 chl<eys Barbecu_e Pit .1972248989913( Card 5525 `: 112.84 §
11/28 Shabnam Qaslm MD ACi-i items CCD lD: 1201868166 ' ' " ' ' 446.09 8
11/28 Squai‘e inc 181128132 i_209401307204 _CCD lD: 942_4300002 352.52

11/'28 Bcbs texas Hoc|atm`pi‘nt 018330E48185310 CCD |D: 5581485400 ' ’ ‘- " = ` - - 191 .79

11)'28 Unitedhealthcare Hcclaimpmt 201868166 CCD lD: 1411289245 " f 1437

11/29 Bcbs Texas Hcclaimpmt 018331E433_73710 CCD |D: 5531495400 - .-- _ 298.45

11/29 Squareinc 181129?2 L209401571403 CODED: 9424300002 244.99

11130 Deposit , . l ,` . 966.73

11/30 Sguare inc 181130P2 L209401900322 CCD tD: 9424300002 - 519.15

Total Deposits and Adclitions . . . _ $55,816.63

CHECKS PA|D

DATE

cHEcK No. oEschPnoN _ ' PAiD AiriouNT

2472 A -. t ' - _ ,_. 11/1'3 9 - $1,500.00

2473 *A _ _ : _ \1;1/1`5 w 188.00

2479 A - - ' ~ 11/14 v 82.06

2480` ’\ 11/13W 120.34

2481 A 11)'14 it 900.00

2482 "\ 11/09 s 799.97

2483 "\ 11/13 s 201.00

2484 "‘ 11113 i» 155.62

2485 /\ 11/14 » 325.00

2488 /\ 11/14 t\ 115.76

2487 /\ 11/15 `\, 172.68

2489 *’\ 11/28 , 840.00

2495 * '\ _ 11/30 900.00

Total Checks Paid $6,300.43

it you see a description in the Checks F’aid section, it means that we received only electronic information about the check,
not the original or an image of the check. As a resuit, we're not able to return the check to you or show you an image

* Ail of your recent checks may not be on this statement either because they haven't cteared yet or they were listed on
one ot your previous statementsl

/\ An image of this check may be available for you to view on Chase.com.

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CHASE“:§

 

 

Novembsr 01, 2018 through Nover'nbsr 30. 2018

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Account Number: 00000023795296`1
ATiVi & DEB|`T CARD W|THDRAWALS
DATE DEscR:PTloN AMouNT
11105 Card Purchase 11103 Mckesson Medicai Surgi 800-4535180 VA Card 5525 3305.86
11107 Card Purchaee 11106 Mokesson i'viedical Surgi 800-4535180 VA Card 5525 447.90
11114 Card Purohase 11113 Amazcn.Com*l\/iBQWtWQO Amzn.Com1Bili WA Card 5525 17.47
11119 Card Purchase 11116 intermedia.Net inc 800-379-7729 WA Card 5525 350.05
11121 Card Purohase 11120 Diokeys Barbecue F’it 19722489899 TX Card 5525 112.84
11123 Card Purohase 11121 Brookshires 124 Lake Worih TX Card 5525 49.99
11126 Recurring Card Purohase 11125 Primepantry *l\1l00l823 Www.Amazon.CO WA Card 5525 4.99
11127 Card Purohase 11126 Vistapr*Vistaprint.Com 866-8936743 NiA Card 5525 44.45
11130 Card Purohase 11129 Terra Med Griii Fort Worth TX Card 5525 100.00
Total ATl'vi & Debit Card Withdrawals $1,433.55
ATiVi 81 DEB|T CARD SUiViiViAFtY
Shabnam Qasim Card 5525
Totai ATM Withdrawais & Debite $0.00
Total Card Purchases $1,433.55
Total Card Deposits & Creciits $112.84
A'i'iVi & Debit Card Totals
Total ATl\/i Wiihdrawais & Debits $0.00
Total Card Purohases $1,433.55
Total Card Deposits & Credits $112.84
[ELECTRONIC WiTHDF-tAWALS!
DATE oEscRiPTloN AMouNT
11102 iViedicai Proteoti inspremium ivipopay000293283 CCD lD: 1350506406 $1,814.00
11102 lViedicai Proteoti inspremium Nipcpay000293285 CCD iD: 1350506406 1,046.00
11105 ADP Payroii Fees ADP - Fees 2Fixoq 3028127 CCD |D: 9659605001 93.73
11105 ADP Payroil Fees ADP - Fees Banxcq 2152005 CCD iD: 9659605001 53.25
11105 Paymenteoh Fee 5704836 CCD lD: 1020401225 3000
11108 Advancecimd Dd 11.6.13 PF’D |D: 1352182629 1,006.67
11109 ADP Wage Pay Wage Pay 936108230181qu CCD iD; 9333006057 5,292.51
11109 ADP Tax ADP Tax Rnxcq 110923AO1 CCD |D: 1223006057 1,248.05
11119 ADP Payroll Fees ADP - Fees 2Fixcq 4707289 CCD lD: 9659605001 90.84
11120 ADP wage Pey wage Pay 539045646663xcq ch lD: 9333006057 15,493.66
11121 ADP Tax ADP Tax ancq 112124A01 CCD |D: 1223006057 6,649.54
Total Elsctronic Withdrawels $32,818.25

The monthiy service fee ot $15.00 was waived this period because you maintained a minimum daily balance oi $1,500.00

Oi' rT`|Oi'G.

 

DA|LY ENDING BALANCE

 

 

 

 

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11102
11105
11106

 

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$40,780.06 11107 40,706.00 11/14
40,463.51 11108 39,997.47 11115
40,230.88 11109 32,656.94 11/16
40,522.61 11/13 34,828.71 11119

mbewueuwl
34,382.04
34,61 2. 1 3
38,884.15
38,443.26

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CHASE :i

November 01, 2018 through November 30, 2018
AccountNumber: 000000237952961

 

DA|LY END|NG BALANCE (conrrncea)

 

 

 

 

 

 

 

 

 

 

 

_¢l_J_ATE AMouNT DATE AMouNT DATE AlviouNT
11120 23,233.11 11126 17,731.42 11/29 18,922.24
11/21 17,140.00 11/27 18,101.19 11130 19,408.12
11123 17,714.10 11128 18,378.80
SERV|CE CHAFtGE SU|V|NiAFtY
TnANsAoTloNs Fon sEvacE FEE oALcULATloN NulvleEn oF TRANsAchONs
Checks Paid 1 Debits 33
Deposits/ Credits 3
Deposited items 17
Transaction Total 53
sEnvlcE FEE oALouLATloN AlvlouNT
Service Fee $15.00
Senrice Fee Credit ~$15.00
Net Service Fee $0.00
Excessive Transaction Fees (Above 100) $0.00
Total Service Fees $0.00

lN CASE OF EHHORS OR QUESTlDNS ABOUT YOUF| ELECTFtONlC FUNDS TRANSFEHS: Ca|i us at 1-866-564-2262 or write us at the
address on the front ot this statement (ncn-persorra| accounts contact Customer Service) immediately it you think your statement or receipt is
incorrect or if you need more information about a transfer listed on the statement or receipt.

For personal accounts oniy: We must hear from you no later than 60 days after we sent you the FtRST statement on which the problem or error
appeared Be prepared to give us the following information:
c Your name and account number
o The dollar amount of the suspected error _
c A description of the error or transfer you are unsure of, wh you believe lt is an error, orwhy you need more information
We will investigate your complaint and will correct any error prompt|yH_ i we take more than 10 business days (or 20 business days for new
r

aocounts) to do this, we will credit your account for the amount you nk is in error so that you will have use of the money during the time it takes
us to complete our investigationl

|N CASE OF ERROHS OH GU EST|ONS ABOUT NON-ELECTRON|C THANSAGT|ONS: Contaot the bank immediately if your statement is
incorrect cr ii ou need more information about a%y non-electronic transactions (checks or deposits) on this statementl if any such error appears,
you must noll the bank in writing no later than 3 days after the statement was made available to ou. For more complete detaiis, see the

Account Ftu|es and Regu|ations or other ap§iioabie account agreement that governs your accountl eposit products and services are offered by
JPMorgan Chaee Bank, N.A. i'\/iember FD|

@ JPNlorgan Chase Bank, N.A. Nlemher FDlC
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